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                IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNSYLVANIA


RICHARD A. GORMAN,                                             Civil Action No. 2:20-cv-04759-JCJ

                             Plaintiff,

              -against-


ILLYA SHPETRIK,

                             Defendant.


                                           ORDER


       AND NOW, this ______ day of _________________, 2021, upon consideration of

Defendant Illya Shpetrik’s Motion to Dismiss Plaintiff’s Amended Complaint and any response

thereto, it is hereby ORDERED that the Motion is GRANTED.

       IT IS FURTHER ORDERED that the Amended Complaint and all claims against

Defendant are dismissed, with prejudice, for lack of personal jurisdiction and failure to state a

claim pursuant to Rules 8 and 12(b)(2), 12(b)(5) and 12(b)(6) of the Federal Rules of Civil

Procedure.



                                            BY THE COURT:



                                            ____________________________________

                                            J. Curtis Joyner




                                          {00989110.v1 }1
